 

IN THE WESTERN DISTRICT OF WASHINGTON
AT SEATTLE CHAPTER 13 BANKRUPTCY

Date April 2, 2022 Case no. 2210270

Karie A, Simmons

11127 NE 162» St,

Bothell, WA 98011
Plaintiff,

FINAL NOTICE OF DEFAULT AND MY
UN-REBUTTED AFFIDAVIT AND
DECLARATION OF THESE FACTS

at Seattle
APR 26 2022

vs.
Wells Fargo Bank
625 Marquette Ave.
Minneapolis, MN 55479
Defendant,
NOTICE OF DEFAULT AND MY UN-REBUTTED
“AFFIDAVIT AND DECLARATION OF THESE FACTS”

REGISTERED MAIL NO. .
KF Ste) 425 olle US

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FILED
Western District of Washington
MARK L. HATCHER, CLERK
OF THE BANKRUPTCY COURT

 

Reference TIN# XX-XXXXXXX
Account No. 7131401882

Plaintiff, Karie A. Simmons, does hereby “lawfully notice” Wells Fargo Bank that as of
this date you failed to file your “Proof of Claim” in the above listed Bankruptcy Case. You also
failed to show up at your 341 Creditors Meeting on April 11, 2022. Further, you were lawfully
put on Notice of this Pending Case via 3 Certified Letters, that I previously sent you marked,
Exhibits A, B, and C in this letter. This is your “3 and Finial Notice of Your Default, to
remind you that you had a lawful duty under the Bankruptcy Laws to file a Valid Proof of
Claim in this Bankruptcy Estate listed above to protect any lawful interest that you might have
had in this Estate. Because you have not filed a lawful or valid “Proof of Claim” within the
time the law required you to do so, then your nonperformance in this matter is the proof
that you have no valid or lawful interest in the specific Bankruptcy Estate. Therefore, this
is your Finial Notice to file a “RELEASE OF CLAIM” IMMEDIATELY, in the interest of
the Plaintiff within this specific case, or if the Plaintiff in this case does not receive it within
the next 10 days from the date of this Notice, the PLAINTIFF WILL EXERSIZE HER
RIGHT AND FILE A MOTION WITH THE BANKRUPTCY COURT TO HAVE
DEFENDANT’S ALLEGED DEBT LAWFULLY DISCHARGED IN FULL, TO
PROTECT THE PLAINTIFF’S INTEREST IN HER ESTATE.

 

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The only documentation that is demanded or required from you at this time, is the “Release of
Claim”, as you have waved your legal right to file a lawful “PROOF OF CLAIM”. Wells
Fargo Bank, is now in Default and has acquiesced by its silence, and does not at this time have a
lawful standing or bases to bring forth any lawful remedies that they would have been entitled to
the Defendant in this instant Case, had the Defendants filed their “PROOF OF CLAIM” within
the time allowed within this instance Bankrupt Case. This final lawful action needs to be
completed by you or your lawfully appointed legal representive immediately, within the next 10
days from the Date of this Notice, for the purpose of voluntarily “Releasing your interest or
Claim” to this property and or estate.

Defendant’s “failure to respond” to this “Notice of Default” will be taken by the
Plaintiff as a Dishonor, in that the Defendant is and has been acting in Bad Faith in this matter.
Further, Defendant’s Silence will now be used as evidence by the Plaintiff that the Defendant in
this Case has acquiesced in this matter. Therefore it will be treated as an Administrative Default,
per the Administrative Procedures Act of 1946. Further, if Defendant “fails to respond”
voluntarly_within the time allowed in this “Notice of Default”, Defendant’s silence will give the
Plaintiff in this instant case the lawful right to filea MOTION WITHIN THE BANKRUPTCY
COURT TO HAVE YOUR ALLEDGED SECURED DEBT LAWFULLY DISCHARGED IN
FULL, TO PROTECT THE PLAINTIFF’S INTEREST IN HER ESTATE.

Defendant’s “failure to produce” the Original “WET INK” Signature on the
Original Promissory note has been be taken by the Plaintiff as a Dishonor, and the Defendant is
and has been acting in Bad Faith and in Dishonor in every step of the instant Bankruptcy
proceedings. Further, Defendant’s Silence by not showing up at the 341 Creditors meeting on
April 11" 2022, will now be used as evidence that Wells Fargo Bank has acquiesced in this
matter, and it will be treated as an “Administrative Default”, as per the Administrative
Procedures Act of 1946.

Defendant’s “failure to produce” the required documentation that was sent to “Wells
Fargo Bank” in the past 2 CERTIFIED or REGESTERED MAILINGS, has become the lawful
evidence that the Defendant’s Secured Creditor position in this matter lacked the necessary
lawful elements for the Defendants to file a “Valid Proof of Claim”. Therefore, the question of
“Wells Fargo Bank’s” aledged Secured Creditors’ Debt is hereby moot. and lawfully
dischargeable within this instant Bankruptcy Case.

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 Karig A. Simmons, Plaintiff
Enclosed Exhibits:

Exhibit A. Plaintiffs first Notice to Wells Fargo Bank.
Exhibit B. Plaintiffs 2« Notice to Wells Fargo Bank.
Exhibit C: Plaintiffs 3« Notice to Wells Fargo Bank.

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CERTIFICATE OF SERVICE

 

IT HERBY CERTIFY that a true and correct copy of the previous two pages of this
“NOTICE OF DEFAULT AND MY UN-REBUTTED AFFIDAVIT AND
DECLARATION OF THESE FACTS?” has been sent to Wells Fargo Bank by
way of REGISTERED MAIL to Defendants at their last known address: Wells
Fargo Bank, 625 Marquette Ave. Minneapolis, MN 55479 on this20 day of April,

2023.
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cn.
Kane A. Simmons

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Witness

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UN-REBUTTED AFFIDAVIT

NOTICE OF DEFAULT AND AFFIANT’S UN-REBUTTED
“AFFIDAVIT AND DECLARATION OF THESE FACTS”

I, Karie A. Simmons, residing at 11127 NE 162" St., Bothell, WA, herein
referred to as and incorporated into this Affidavit as, “Affiant”, do solemnly affirm
and declare to the best of my abilities, verify, and state as follows:

1. Affiant is competent to state the matters set forth herein, and;
2. Affiant has first-hand personal knowledge of the facts stated herein, and;

3. Affiant states that all the facts stated herein are true, correct, and complete
to the best of my knowledge, the information that is stated in my NOTICE OF
DEFAULT AND AFFIANT’S UN-REBUTTED “AFFIDAVIT AND
DECLARATION OF THESE FACTS?” is accurately stated. If called upon as a
witness, Affiant will testify to the veracity of my personal understandings and
reasons for the drafting of this sworn Un-Rebutted affidavit, and;

4. Affiant has acted in “Good Faith and in Honor” by sending Wells
Fargo Bank a lawful copy of the document identified in the paragraph above, to
notify them that they need to immediately File their “Release of Claim” in
Affiant’s Bankruptcy Case No. 2210270, within the next 10 days from thealo " of
April 2022, to voluntarily file their “Release of Claim”. In their “failure to
produce” the “Release of Claim” to the Bankruptcy Court in the time allowed,
“Wells Fargo Bank” will then be in Default, therefore, acquiescing, by their
silence, which will then allow Affiant the lawful right to exercise my lawful right
to seek a lawful remedy, and file a motion with the Bankruptcy Court, to have
“Wells Fargo Bank’s” alleged “Secured Debt” be lawfully discharged within the
instant Bankruptcy Case, to protect Affiant’s lawful interest in her Estate, and;

5. Affiant has Acted in “Good faith and in Honor” by sending “Wells
Fargo Bank” three CERTIFIED and REGISTERED MAIL NOTICES, as well as
Affiant’s Sworn Affidavits that are enclosed and attached herein as Exhibits A, B,

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and C, to insure that “Wells Fargo Bank” has been timely notified of all aspects
and important dates of Affiant’s current “Chapter 13 Bankruptcy” status, and;

6. Affiant states that, as of today’s date, “Wells Fargo Bank” and or their
legal Representatives have remained “Absolutely Silent” to Affiant’s three
Certified and REGISTERED MAIL NOTICES, as well as all of Affiant’s Sworn
Affidavits that were attached to them. “Wells Fargo Bank” and or their legal
Representatives have willfully refused to file their “Proof of Claim” and or meet
with the appointed Bankruptcy Trustee in Affiant’s “341 Creditors Meetings” to
defend the Bank’s alleged Claim of Secured Debt, and;

7. Affiant has therefore has accepted “Wells Fargo Bank’s” Silence, their
Non-Response, their Non-Rebuttal of Affiant’s Sworn Affidavits and Affiant’s
timely filed Notices that are all listed in Exhibits A, B, and C and their refusal to
appear at Affiant’s “Chapter 13 Bankruptcy” and defend their Claim in Affiant’s
estate. Therefore, their willful failure to timely file their “Proof of Claim” has
now become lawful evidence, that “Wells Fargo Bank” and or their legal
Representatives have “lawfully acquiesced” via “Tacit Agreement” to all the
matters as outlined within the pages of Affiant’s Sworn Affidavits and all of
Affiant’s CERTIFIED AND REGISTERED MAILINGS as listed in Affiant’s
enclosed Exhibits marked A, B, and C and;

8. In Closing, Affiant further states that an “Un-Rebutted Affidavit”, after
10 days from the date it is received, stands as “Truth in Commerce”, (See Exhibit
1) Further, an “Un-Rebutted Affidavit” becomes the “Judgment in Commerce”.
(See Exhibit 1) Therefore, because of “Wells Fargo Bank” and or their legal
Representatives absolute Silence, their Non-Response, their Non-Rebuttal, of
Affiant’s Correspondence, and Affiant’s Sworn Affidavits, as well as their Willful
Failure to File their “Proof of Claim” or even show up for their 341 Creditors
Meeting, a lawful “Tacit Agreement” was created, and the Information in
Affiant’s Correspondence now “Stands as the truth, and has become the Lawful
Evidence standing as the Un-Rebutted Truth in Affiant’s Chapter 13
Bankruptcy Case”, and;

9. In conclusion, Affiant further states and reiterates, that the
“UN-REBUTTED AFFIDAVITS and the documented Unanswered
Correspondence in this Mailing now stand as lawfully admissible facts in Affiant’s
“Chapter 13 Bankruptcy Case” as “Unchallenged Factual Evidence” in its
Un-Rebutted written form. It is further agreed by the parties, that there is no longer

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any “Argument or Controversy” on the facts, the language or the word usage
in Affiant’s past two Affidavit and Written Correspondence, as well as this
current Affidavit, it’s written correspondence and its Exhibits now “Stand _as
the Truth” and the “Judgment in Commerce” on this Matter, and can now be
lawfully used in Affiant’s instant Chapter 13 Bankruptcy Case as factual
evidence for future Motions to be filed by Affiant. (See Exhibit 1)

FURTHER AFFIANT SAYETH NAUGHT.

Under the PENALTY OF PERJURY, under the laws of the State of Washington, I
certify that this “UN-REBUTTED AFFIDAVIT”, identified above, is true and
correct, and that the three page Letter that I drafted entitled “NOTICE OF
DEFAULT AND MY UN-RUBUTTED AFFIDAVIT AND DECLARATION
OF THESE FACTS” (See Exhibit 2) is to the best of my understanding and
knowledge done in “Good Faith and in Honor”. I have sent this Affidavit and
my “NOTICE OF DEFAULT” letter to provide Wells Fargo Bank with a
detailed instructions and an outline of the time they have to voluntarily file their
“RELEASE OF CLAIM” within Affiant’s instant Chapter 13 Bankruptcy Case.

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Koc A. Simmons

Exhibit 1: enclosed: Two page legal research from CASEMINE law research on
the “Maxims of Law” and up to date Court Case research on “Affidavits and
Un-Rebutted Affidavits”.

Exhibit 2: Letter dated April, 2022 from Karie A. Simmons that was sent via
REGISTERED Mail to Wells Fargo Bank.

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EXHIBIT 1

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CASEMINE RESEARCH
On Affidavits and Unrebutted Affidavits

1. Cite text. Cases cited for the legal proposition you have searched for.

In this case.....Plaintiff asserts that the Court is bound by a variety of
“maxims of law”, such as an unrebutted affidavit stands as....UCC’s “underlying
purposes and policies”. Va. Code Ann §§ 8.1A-204,-201(16), -103. None of these
provisions suggests that failure to respond to an “Affidavit of Truth” within ten
days constitutes an....state a claim upon which relief can be granted. Accepting all
factual allegations in Plaintiff’s complaint as true and drawing all reasonable
inferences in her favor, I find that the Plaintiff has pleaded ...

Motion to dismiss: Granted

 

2. Bey v. Stumpf
COURT: UNITED STATES OF DISTRICT COURT, D. NEW JERSY

DATE: OCT 17, 2001 CITED BY: 26 CORAM:1

In this case...... Unrebutted Affidavit Stands as Truth in Commerce *
An Unrebutted Affidavit Becomes the Judgment in Commerce * He Who
Leaves the Battlefield First Loses..... this Writ/Petition has not rebutted and this
issue stands as Judgment. Again! * In Commerce Truth is Sovereign * Truth
is Expressed in the Form of an Affidavit......Stands as Truth in Commerce * An
Unrebutted Affidavit Becomes the Judgment in Commerce * He who leaves
the Battlefield first loses......

 

3. Kapenda v. Parker
COURT: COURT OF APPEALS OF OHIO TENTH APPELLATE DISTRIC

DATE: MAY 7, 2019 CITED BY: 0 CORAM: 1

In this case...... 6:3-5 19:11-13; Num. 30:2; Matt. The fifth (5") maxim of
law says, An unrebutted affidavit stands as truth in commerce Exhibit (C) An
injunction was given to prosecutor Dyal Kenner..... Magistrate on April 9, 2018,
and argues that his submittal of unrebutted affidavits........

 

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4. Black y. Van Schiver

COURT: UNITED STATES DISTRICT COURT EASTERN DISTRICT OF
CALIFORNIA

DATE: SEPT 1, 2016 Motion to dismiss: Granted

In this case..... Truth is expressed in the form of an Affidavit. An
unrebutted affidavit stands as truth in commerce. An unrebutted affidavit
becomes judgment. (Doc. No. 1 at 14-15.) Finally, plaintiff asserts that one of the
exhibits submitted with his complaint is his “Affidavit of Truth”........

 

5. Adkins v. Kentuchy

COURT: UNITED STATES DISTRICT COURT WESTERN DISTRICT OF
TUCK Y LOUISVILLE DIVI

DATE: DEC 12 2018 CORAM: 1

In this case...... it discusses an affidavit which Petitioner apparently signed.
It states, “Truth as a valid statement of reality is sovereign in commerce; An
unrebutted affidavit or declaration stands as.... An unrebutted affidavit is acted
upon as the judgement in commerce; Guaranteed — All men/women shall have a
remedy by the due course of law... Elizabeth Adkins initiated this pro se action by
filling a document caption as a “Writ of Execution or Judicial Order Enforcing
Judgment

 

6. Chyba v. First Fin. Asset Mgmt, Inc

COURT: UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF
CALIFORNIA DATE: APR 30, 2013 CORAM: 1

In this case.... Third, Plaintiff claims that the Defendant did not rebut her
Affidavit with an affidavit, and that an unrebutted affidavit stands as truth. ...

Plaintiff’s Affidavit as an initial matter, this Court addresses a dispute between the
parties concerning the propriety of evidence offered by Plaintiff. As part of her
Opposition to... counsel was submitted as evidence. Second, plaintiff claims that
Defendant did not rebut Plaintiff’s affidavit in a timely manner proper format
under the local rules and......

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Exhibit 2

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EXHIBIT A

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AFFIDAVIT AND DECLARATION OF FACTS

OF “PETITION FOR A VERIFICATION OF DEBT”

I, Karie A. Simmons, residing at 11127 NE 162™ St., Bothell, WA, herein referred
to as and incorporated into this Affidavit as, “Affiant”, does solemnly affirm,
declare to the best of her abilities, verify, and state as follows:

1. Affiant is competent to state the matters set forth herein, and;
2. Affiant has first-hand personal knowledge of the facts stated herein, and;

3. Affiant states that all the fact stated herein are true, correct, and complete
to the best of my knowledge of the information that is stated in my PETITION
FOR A VERIFICATION OF DEBT that I authored on March 18/2022. If called
upon as a witness, Affiant will testify to the veracity of my personal
understandings and reasons for the drafting of this document.

4. Affiant has acted in “Good Faith and in Honor” by sending Wells Fargo
Bank a lawful copy of this document to allow them to have the time that they need
to File their “Proof of Claim” in my Bankruptcy Case No. 2210270. I have also
given them a detailed outline of information and the evidence that they will need to
produce in order to substantiate their claim and to provide the necessary lawful

elements for them to provide a “Valid Claim within their Proof of Claim” within
my instant Bankruptcy Case.

FURTHER AFFIA SAYETH NAUGHT.

“Under the PENALTY OF PERJURY, under the laws of the State of Washington,
I certify that this “AFFIDAVIT AND DECLARATION OF FACTS, identified
above, is true and correct, and that my 3-page Letter entitled PETITION FOR A
VERIFICATION OF DEBT, that I drafted is to the best of my understanding and
knowledge is done in Good Faith. I have sent it in advance to provide Wells Fargo
Bank with a detailed outline of the necessary lawful elements that they will need,

 

Bet to su tiate their “Proof of Claim” within my instant Bankruptcy Case.
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Exhibit enclosed: 3-page Letter from Karie A. Simmons to Wells Fargo Bank

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IN THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE

CHAPTER 13 BANKRUPTCY
Date March 18" 2022 Case no. 2210270
Karie A. Simmons PETITION FOR A VERIFICATION OF
11127 NE 162%” St. PROOF OF CLAIM OF YOUR
Bothell, WA 98011 DEBT OR INTREST IN THIS REAL
Plaintiff, PROPERTY OR RELEASE OF CLAIM
vs.
Wells Fargo Bank
625 Marquette Ave.
Minneapolis, MN 55479
Defendant,

PETITION FOR A VERIFICATION OF DEBT

Reference TIN# XX-XXXXXXX
Account No. 713140882

Plaintiff, Karie A. Simmons, does hereby lawfully request verification from.Wells Fargo
Bank of the alleged debt, encumbrance, or interest in or on the property referenced in the
Account No. above, in the form of a “Proof of Claim”. This documentation is necessary in
order to establish whether Wells Fargo Bank, in this Case, has a lawful standing to bring forth
remedies entitled to the Defendant in this instant Case. The Plaintiff in this instant case does
hereby lawfully request the Defendant listed in this Case No. 2210270 to produce the following
documents (listed on page 2), to be listed within your “PROOF OF CLAIM” as lawful
evidence and verification of your claim. This action needs to be completed within the next 15
days from the Date of this Notice for the purpose of verification of the debt, encumbrance or
interest in the real property noted above or your written “Release of Claim” to this property.

 

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1. Produce the Original “WET INK” Signature Promissory note signed by the
Defendant Karie A. Simmons in association with the loan pursuant to USC Title 18, Part 1,

Chapter 101 § 2071.
2. Provide proof that the Defendant is in fact the Note Holder in Course,

and that PHH Mortgage has a “lawful standing as a Party of Imterest” in the original
Promissory Note. This is because the Plaintiff has reason to believe that the Defendant might
have bought an interest in the alleged Promissory Note, under a Mortgage-backed Securities
Interest from another Mortgage Company, and that the Defendant is not a lawful party to, or

within, the original Promissory Note.

 

 

3. Defendant “must stipulate to Plaintiff in this case via a Lawful Affidavit” signed
under the “Penalty of Perjury” by someone who can be lawfully subpoenaed, who is able to
show Proof that the Defendant in this instant case is in fact a “Lawful Secured Creditor of the
original Loan/Security Instrument”. In this case, a Lawful Secured Creditor needs to show
true double entry accounting of this debt as evidence of the transaction, within the original loan
to the Plaintiff, according to the Generally Accepted Accounting Principles. (GAAP)

4, If the “Defendant is unable” to or for whatever reason cannot produce a Lawful
Proof of Claim that is signed under Penalty of Perjury, Wells Fargo Bank will be unable to

have any Lawful standing in this instant Case, or any other future controversy or claim
concerning this matter.

S. If the Defendant in this case is “umable to produce” a “Lawful Proof of Claim”,
signed under the Penalty of Perjury, then the Plaintiff in this Case, will pray to the Court to
ask for an Order to have the Defendant’s Alleged Debt discharged in favor of the Plaintiff.
Then Plaintiff will be free to seek whatever lawful remedies or recourses that are due to the
Plaintiff in this instant Case.

6. Defendants “failure to respond” to this letter will be taken by the Plaintiff as a Dishonor,
and that the Defendant is acting in Bad Faith in this matter. Further, Defendant’s Silence will be
used as evidence that Defendant has acquiesced in this matter, and it will be treated as an
Administrative Default, per the Administrative Procedures Act of 1946. Further, if Defendant
“fails to respond” within the time allowed in this Notice, Defendant’s “Alleged Secured Debt”
will have no legal standing in this instant Case before this Bankruptcy Court.

7. Defendant’s “failure to produce” the Original “WET INK” Signature on the Original
Promissory note will be taken by the Plaintiff as a Dishonor, and that the Defendant is acting in
Bad Faith. Further, Defendant’s Silence will be used as evidence that Wells Fargo Bank has
acquiesced in this matter, and it will be treated as an “Administrative Default” as per the
Administrative Procedures Act of 1946. In closing, Defendant’s “failure to produce” the
documentation requested in this Petition will become the evidence that the Defendant’s Secured
Creditor position in this matter, lacks the necessary lawful elements for a “Valid Proof of
Claim”, and is therefore moot, in this instant Bankruptcy Case.

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Karie A. Simmons, Plaintiff

CERTIFICATE OF SERVICE

I HERBY CERTIFY that a true and correct copy of the previous two pages
of this PETITION FOR A VERIFICATION OF DEBT has been sent to Wells
Fargo Bank by way of REGISTERED MAIL to Defendant’s at their last known
address: Wells Fargo Bank 625 Marquette Ave. Minneapolis, MN 55749 on this
LS day of March 2022.

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Karie A Simmons

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Witness

REGISTERED MAIL NO.

 

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EXHIBIT B

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AFFIDAVIT AND DECLARATION OF FACTS

OF “NOTICE OF DEFAULT AND DEMAND” THAT YOU
FILE YOUR “PROOF OF CLAIM” OR “RELEASE OF CLAIM”

I, Karie A. Simmons, residing at 11127 NE 162" St., Bothell, WA, herein referred
to as and incorporated into this Affidavit as, “Affiant”, does solemnly affirm,
declare to the best of her abilities, verify, and state as follows:

1. Affiant is competent to state the matters set forth herein, and;
2. Affiant has first-hand personal knowledge of the facts stated herein, and;

3. Affiant states that all the facts stated herein are true, correct, and complete
to the best of my knowledge of the information that is stated in my NOTICE OF
DEFAULT AND DEMAND” THAT YOU FILE YOUR “PROOF OF
CLAIM” OR “RELEASE OF CLAIM” that I authored on April 8" /2022. If
called upon as a witness, A ffiant will testify to the veracity of my personal
understandings and reasons for the drafting of this document.

4, Affiant has acted in “Good Faith and in Honor” by sending Wells Fargo
Bank a lawful copy of the document identified in paragraph above, to allow them
to have the time that they need to File their “Proof of Claim” or “Release of Claim”
in my Bankruptcy Case No. 2210270. I have also given the Bank a detailed outline
of information and the evidence that they will need to produce and attach to their
“Proof of Claim” or “Release of Claim”, in order to substantiate their claim and to
provide the necessary lawful elements for them to provide a “Valid Proof of
Claim” within my instant Bankruptcy Case.

FURTHER AFFIANT SAYETH NAUGHT.

Under the PENALTY OF PERJURY, under the laws of the State of Washington, I
certify that this “AFFIDAVIT AND DECLARATION OF FACTS", identified
above, is true and correct, and that my 3-page Letter that I drafted entitled
“NOTICE OF DEFAULT AND DEMAND” THAT YOU FILE YOUR
“PROOF OF CLAIM” OR “RELEASE OF CLAIM” is to the best of my

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understanding and knowledge done in Good Faith. I have sent this Affidavit and
my NOTICE OF DEFAULT AND DEMAND letter to provide Wells Fargo
Bank with a detailed outline of the necessary lawful elements that they will need,
in order to substantiate their “Proof of Claim” or their “Release of Claim”, within
my instant Bankruptcy Case.

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Karie A. Simmons

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Exhibit A enclosed: 3-page Letter from Karie A. Simmons that was sent via
REGISTERED Mail to Wells Fargo Bank,

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IN THE WESTERN DISTRICT OF WASHINGTON
AT SEATTLE CHAPTER 13 BANKRUPTCY

Date April 8", 2022 Case no. 2210270
Karie A. Simmons NOTICE OF DEFAULT AND DEMAND
11127 NE 162®? St. THAT YOU FILE YOUR “PROOF OF
Bothell, WA 98011 CLAIM” OR “RELEASE OF CLAIM”
Plaintiff,
Vs.
Wells Fargo Bank REGISTERED MAIL NO.
625 Marquette Ave,

 

Minneapolis, MN 55479

Defendant,

NOTICE OF DEFAULT DEMAND THAT YOU
HILE YOUR “PROOF OF CLAIM” OR “RELEASE OF CLAIM”

 

       

Reference TIN# XX-XXXXXXX
ccount No. 7131401882

Plaintiff, Karie A. Simmons, does hereby “lawfully notice” Wells Fargo Bank that you
failed to file your “Proof of Claim” in the above listed Bankruptc Case. You also failed to

show up at your 341 Creditors Meeting on April 4, 2022. Further, you were lawfully put on
Notice of this Pending Case via a Certified Letter, that I previously sent you marked, Exhibit A
in this letter. This is your “2" Notice and Demand”, to remind you that if you do have a lawful
claim in this Bankruptcy Estate listed above, that you must immediately file your “Proof of
Claim” within the next 10 days from the date of this Certified letter to secure your lien,
encumbrance or your lawful interest in or on the property referenced in this Bankruptcy Case No,

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2210270. If you do not have a lawful or valid claim, then file a “RELEASE OF CLAIM” in
the interest of the Plaintiff within this case.

This documentation that is demanded is necessary in order to establish whether Wells Fargo
Bank, does or does not have a lawful standing to bring forth remedies entitled to the Defendant
in this instant Case. The Plaintiff in this instant case does hereby lawfully request the Defendant
listed in this Case No. 2210270 to also_produce the following documents listed below in
numbers 1-7. These documents must be listed or attached to your “PROOF OF CLAIM” as
lawful evidence to verify and validate your claim. Failure to do so, in the time the law
requires you to do so, could result in the Lawful discharge of your aledged debt that is
listed on the previous debt related documents that you have sent me, and that I have
personally filed in this Bankruptcy Case.

 

This lawful action needs to be completed by you or your lawfully appointed legal representative
immediately, within the next 10 days from the Date of this Notice, for the purpose of validation
and verification of your alleged debt, encumbrance or interest in the real property noted above or
your written and signed “Release of Claim” to this property and or estate.

 

1. Produce the Original “WET INK” Signature Promissory note signed by the
Defendant Karie A. Simmons in association with the loan pursuant to USC Title 18, Part 1,
Chapter 101 § 2071.

2. Provide proof that the Defendant is in fact the Lawful Note Holder in Due Course
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and that Wells Fargo Bank has a “lawful standing as a Party of Interest” in the original

Promissory Note. This is because the Plaintiff has reason to believe that the Defendant might
have bought an interest in the alleged Promissory Note, under a Mortgage backed Securities

Interest from another Mortgage Company, that the Defendant is not a lawful party to, or within,
the original Promissory Note,

3. Defendant “must stipulate to Plaintiff in this case via a Lawful Affidavit” signed
under the “Penalty of Perjury” by someone who can be lawfully subpoenaed, who is able to
show documented Proof and Bona Fide evidence that the Defendant in this instant case is 1n fact
a “Lawful Secured Creditor of the original Loan/Security Instrument". In this case, a
Lawful Secured Creditor needs to also show true double entry accounting of this debt as
evidence of the transaction, within the original loan to the Plaintiff and the Bankruptcy Court,
according to the Generally Accepted Accounting Principles, (GAAP)

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4. If the “Defendant is unable” to or for whatever reason cannot produce a Lawful
“Proof of Claim” thatlis signed under Penalty of Perjury, Wells Fargo Bank will be unable to
have any Lawful standing in this instant Case, or any other future controversy or claim
concerning this matter.

5. If the Defendant in this case is “unable to produce” a “Lawful Proof of Claim”,
signed under the Penalty of Perjury, then the Plaintiff in this Case, will pray to the Court

and ask for an Order to have the Defendant’s Alleged Debt discharged in favor of the

 

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Plaintiff. Then Plaintiff will be free to seek whatever lawful remedies or resources that are due to
the Plaintiff in this instant Case.

6. The Defendant's “failure to respond” to this letter will be taken by the Plaintiff as a
Dishonor, and that the Defendant is acting in Bad Faith in this matter. Further, Defendant’s
Silence will be used as evidence that Defendant has acquiesced in this matter, and it will be
treated as an Administrative Default, per the Administrative Procedures Act of 1946. Further, if
Defendant “fails to respond” within the time allowed in this Notice, Defendant’s “Alleged
Secured Debt” will have no legal standing in this instant Case before this Bankruptcy Court.

7. Defendant’s “failure to produce” the Original “WET INK” Signature on the Original
Promissory note will be taken by the Plaintiff as a Dishonor, and that the Defendant is acting in
Bad Faith. Further, Defendant’s Silence will be used as evidence that Wells F argo Bank has
acquiesced in this matter, and it will be treated as an “Administrative Default” as per the
Administrative Procedures Act of 1946. In closing, Defendant’s “failure to produce” the
documentation requested in this Petition will become the evidence that the Defendant’s Secured
Creditor position in this matter, lacks the necessary lawful elements for a “Valid Proof of
Claim”, and is therefore moot, and lawfully dischargeable within this instant Bankruptcy Case.

 

Sincerely,
LVMLO C wrrwynr7w Date dL
(7 d Fy
Karié A. Simmons, Plaintiff

CERTIFICATE OF SERVICE

 

IT HEREBY CERTIFY that a true and correct copy of the previous three pages of
this NOTICE OF DEFAULT AND DEMAND THAT YOU FILE YOUR
“PROOF OF CLAIM” OR “RELEASE OF CLAIM” has been sent to Wells
Fargo Bank by way of REGISTERED MAIL to Defendant’s at their last known
address: Wells Fargo Bank, 625 Marquette Ave. Minneapolis, MN 55479 on this 8”
day gf April, 2022

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Karie A Simmons

 

 

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EXHIBIT C

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